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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 JOE ANDREW SALAZAR,

     Plaintiff,

     v.                                                  Civil Action No. 2:20-cv-00004-JRG

 AT&T MOBILITY LLC,                                      JURY TRIAL DEMANDED
 SPRINT/UNITED MANAGEMENT
 COMPANY, T-MOBILE USA, INC.,
 AND CELLCO PARTNERSHIP D/B/A
 VERIZON WIRELESS,

     Defendants.



                      DEFENDANTS’ NOTICE OF CROSS-APPEAL

       On September 15, 2021, Plaintiff Joe Andrew Salazar (“Salazar”) filed a notice of appeal

(Dkt. No. 249) of the Court’s final judgment entered in this case on August 17, 2021. Defendants

AT&T Mobility LLC, Sprint/United Management Company, T-Mobile USA, Inc., and Cellco

Partnership d/b/a Verizon Wireless hereby cross-appeal to the United States Court of Appeals for

the Federal Circuit from the Court’s final judgment (Dkt. No. 242) and from the Court’s Order on

Pretrial Motions and Motions In Limine (Dkt. No. 220), denying Defendants’ and Intervenors’

Motion for Summary Judgment Under the Kessler Doctrine and Res Judicata (Dkt. No. 146).

Defendants timely file this notice of cross-appeal within 14 days of the filing of Salazar’s notice

of appeal.

Dated: September 29, 2021                    Respectfully submitted,

                                             By: /s/ Fred I. Williams
                                             Fred I. Williams
                                             Texas State Bar No. 00794855



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                                   CERTIFICATE OF SERVICE


       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served on September 29, 2021, with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3).

                                                   /s/ Fred I. Williams
                                                   Fred I. Williams




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